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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
 UNITED STATES OF AMERICA,                  )
                                            )
                       Plaintiff,           )
           v.                               )        No. 14 CR 131
                                            )
GHEORGUI MARTOV, et al.,                    )        Judge Ronald A. Guzmán
                                            )
                                            )
                      Defendants.           )
                                            )
                                            )


                     MEMORANDUM OPINION AND ORDER
         The government has brought a 29-count, 17-defendant indictment alleging an

 international bank card fraud/identity theft ring. As part of its pretrial disclosures, the

 government has produced approximately 12,500 Bulgarian-language conversations resulting

 from Title III intercepts of phone conversations. Defendant Vangelov has moved the court to

 approve his proposal for addressing the defendants' need to obtain translations of these

 recordings in preparation for trial. The proposal consists of two stages. The first stage would

 require defense counsel to designate which recordings are criminally related or relevant to the

 case.    To accomplish this, each participating defense counsel would be responsible for

 reviewing a roughly equal number of recorded transactions utilizing the government-disclosed

 Line Sheets.1 As each defense counsel finds the need for further review of any particular


1 For every intercepted phone call during the government’s investigation, Bulgarian-
speaking FBI personnel created an English-language Line Sheet summarizing the conversation.
Because the line sheets were prepared during the course of the investigation and were used in
order to determine how best to allocate surveillance and other investigator resources going
forward, the likelihood of the line sheets being unreliable or deliberately distorting the
importance of the conversations is minimal. Thus, these Line Sheets should provide defense
counsel with a starting point for the review of the intercepted conversations.

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intercepted conversation, counsel will prepare a report listing any conversation as to

which he or she would seek to have the appointed interpreter: 1) check the agents’ Line

Sheet summary for a particular call for accuracy; 2) create a more detailed summary of any

intercepted call; 3) create a full transcript of a conversation; o r 4) check the accuracy of the

government-prepared transcript for a call.        If approved by the Court, the appointed

interpreter’s resulting work product will be shared with all participating defense counsel.

      Counsel for Vangelov estimates that by having the interpreter focus on calls that are

criminally-related or otherwise relevant, the cost for the interpreter could be reduced to

approximately $21,000.00, to be funded by a $1500.00 contribution from each participating

defense counsel. Each appointed counsel who desires to participate must agree to request the

Court to authorize $1500.00 for interpreter services pursuant to the Criminal Justice Act.

Each privately retained counsel who desires to participate must agree to pay an equal share of

the total expense. At the Court's most recent status hearing, twelve defendants (Markov,

Evtimov, Kotselov, Vangelov, Savov, Nedelchev, Gospodinov, Yordanov, Slavchev,

Popovski, Todorov, and Gabov) agreed to participate in the proposed plan for obtaining

interpreter services. Any other defendants wishing to participate in the proposed plan may

petition the Court to do so within 7 days of the date of entry of this order.

         Counsel for the participating defendants are authorized to proceed with their initial

review of the government-provided Line Sheets. It is anticipated that there will be an overlap,

i.e., that several defendants may wish to have the same conversation translated or further

investigated. Therefore, the participating defendants shall submit one consolidated report to

the Court no later than September 30, 2014. The consolidated report shall contain at least

three columns: (1) the designated calls in chronological order; (2) the task(s) the interpreter is

being asked to complete for that call; and (3) for each call, which defendant has requested

what task. The report shall also include an estimate by participating defense counsel of the


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total cost of the interpreter’s services with respect to the designated calls.             Finally, the

consolidated report shall include any other information the participating defendants deem

relevant to the Court’s review and approval of the requested interpreter services.

      Only after its review of the consolidated report will the Court be in a position to

estimate the overall cost of interpreter services in the fulfillment of this plan. After its review

of the consolidated report, the Court may authorize the appointed interpreter to perform the

requested work if it appears that the cumulative cost of interpreter services to fulfill the

attorneys’ requests, shared equally between them, will not exceed $1500.00 per defendant.

The Court’s review of the consolidated report will also allow it to determine whether the plan

must be certified for approval to the Chief Judge of the Seventh Circuit Court of Appeals

and/or whether the participating defendants will need to agree to allocate additional funds for

the interpreter’s services.



      Dated: August 21, 2014

      SO ORDERED                                 ENTER:



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                                                         RONALD A. GUZMÁN
                                                              District Judge




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